
78 So. 3d 103 (2012)
Anat BANIEL, Appellant,
v.
FIFTH THIRD MORTGAGE COMPANY, Appellee.
No. 5D10-4318.
District Court of Appeal of Florida, Fifth District.
January 27, 2012.
*104 Michael E. Rodriguez, of Foreclosure Defense Law Firm, PL, Tampa, for Appellant.
Reid Manley and Christine Irwin Parrish, of Burr &amp; Forman LLP, Orlando, for Appellee.

ON CONFESSION OF ERROR
PER CURIAM.
Fifth Third Mortgage Company candidly and commendably concedes that the final judgment on appeal was erroneously entered and must be reversed. We agree, reverse the final judgment of foreclosure and remand for further proceedings.
REVERSED and REMANDED.
ORFINGER, C.J., MONACO and COHEN, JJ., concur.
